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IN THE UNITED STATES DISTRICT COURT FOR
THE MIDDLE DISTRICT OF ALABAMA
NORTHERN DIVISION

THE COLONIAL BANCGROUP, INC.,
and KEVIN O’HALLORAN,

Plaintiff,

Vv. Case No. 2:11-cv-00746-WKW

PRICEWATERHOUSECOOPERS LLP
and CROWE HORWATH LLP,

Defendants.

 

Case No. 2:12-cv-00957-WKW
FEDERAL DEPOSIT INSURANCE
CORPORATION AS RECEIVER FOR
COLONIAL BANK,

Plaintiff,

Vv.

PRICEWATERHOUSECOOPERS LLP
and CROWE HORWATH LLP,

Defendants.

 

 

THE FDIC-R’S RESPONSE TO CROWE’S REQUEST FOR ORAL ARGUMENT
To the Honorable District Judge:
Plaintiff Federal Deposit Insurance Corporation as Receiver for Colonial Bank (“FDIC-
R”) responds to Crowe Horwath LLP’s Request for Oral Argument on the Motion to Compel of
the Federal Deposit Insurance Corporation as Receiver for Colonial Bank (Docket No. 174),
and respectfully shows as follows:
As an initial matter, the FDIC-R does not believe that oral argument is necessary in this

instance because the issue before the Court is a relatively straightforward discovery dispute over

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the production of highly relevant audit manuals and internal guidance of Crowe Horwath
(“Crowe”). Indeed, the briefing submitted by the parties provides a full record to decide this
motion to compel. See Docket Nos. 160, 166, 171, and 174. Nevertheless, to the extent the Court
wants to hear oral argument, the FDIC-R does not oppose the request for oral argument made by
Crowe.

The FDIC-R does oppose Crowe’s thinly-veiled attempt to file an unauthorized sur-reply
brief in the guise of a request for oral argument. Because Crowe never obtained leave of court to
do so, the arguments made in that motion should be stricken by the Court. Mobile County Water,
Sewer & Fire Prot. Auth., Inc. v. Mobile Area Water & Sewer Sys., Inc., CIV.A. 07-0357-WSM,
2007 WL 3208587, at *5 (S.D. Ala. Oct. 29, 2007)(‘‘Sur-replies can only be filed with leave of
court and are ordinarily stricken if no such leave is requested or received.”). The FDIC-R briefly

responds to the improper arguments made by Crowe as follows:

© Crowe’s manuals are clearly relevant to show what it believes a prudent auditor
would do. This rule has been explicitly adopted in another audit malpractice case. In
In Official Unsecured Creditors Comm. of Media Vision Tech. v. Jain, 215 F.R.D.
587 (N.D. Cal. 2003), the court ordered the production of audit manuals, finding that
the “issue is not simply how the audit was actually conducted, but how it should have
been conducted and whether, if there were deviations from standard or preferred
procedure or practice...”. See Reply in Support of Motion to Compel, p. 4, Docket
No. 171. Without citing to any authority, Crowe baldly contends that Jain is an
aberration and that nothing in its audit manuals is relevant to Crowe’s internal audit
work. The fact is that Crowe’s audit manuals are relevant to demonstrate how Crowe
should have conducted its audit in this case. Accordingly, the FDIC-R’s document
requests are reasonably calculated to lead to the discovery of admissible evidence and
should be produced, especially considering the liberal standards during discovery.
Gohler v. Wood, 162 F.R.D. 691, 695 (D. Utah 1995) (ordering discovery of audit
manuals where it was “conceivable that Deloitte's internal manuals may lead to
discoverable evidence.”).

e The FDIC-R has never limited its request to Crowe’s internal guidance on
“outsourced internal audit work.” Crowe contends that the FDIC-R has not
previously “sought internal guidance unrelated to outsourced internal audit work.”
Request for Oral Argument, Docket No. 174, at 3. Crowe further claims that the
FDIC-R only now seeks documents that “could have been used by an internal

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auditor.” Jd. (emphasis in original). This contention is without merit because the
FDIC-R’s document requests clearly call for documents regardless of whether they
were made solely for internal audits. See Reply in Support, pp. 7-8. Indeed,
document request 1(b) unambiguously calls for audit manuals “including but not
limited to policies and procedures in regard to internal audits.” See Request 1(b),
Motion to Compel, pp. 13-14 (emphasis added). Moreover, the FDIC-R cannot see
how Crowe would believe that the Requests were limited to only internal audit
materials while the FDIC-R has repeatedly sought Crowe’s external audit manuals.
See Motion to Compel, pp. 5-15, Docket No. 160; Reply in Support of Motion to
Compel, pp. 2-4, Docket No. 171.

CONCLUSION
For all of the reasons stated in the FDIC-R’s Motion to Compel and Reply, the FDIC-R
respectfully prays that this Court enter an order compelling Crowe to produce the documents
sought in that motion (Docket No. 160).
Dated: September 17, 2015.
Respectfully submitted,

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CERTIFICATE OF SERVICE
I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the
United States District Court for the Middle District of Alabama, Northern Division by using the
CM/ECF system on September 17, 2015.

I certify that counsel for all parties in the case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.

/s/John G. Turner, II

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